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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


MICHAEL HARRINGTON,

               Plaintiff,                                    Civil Action No. 16-CV-11076
vs.                                                          HON. MARK A. GOLDSMITH

CREDENCE RESOURCE
MANAGEMENT, LLC,

            Defendant.
_______________________________/

                            ORDER DISMISSING CASE WITH PREJUDICE

       The Court, having received Plaintiff’s notice of voluntary dismissal (Dkt. 5), dismisses

the case with prejudice and without costs to either party.

       SO ORDERED.


Dated: May 5, 2016                            s/Mark A. Goldsmith
Detroit, Michigan                             MARK A. GOLDSMITH
                                              United States District Judge




                                   CERTIFICATE OF SERVICE

The undersigned certifies that the foregoing document was served upon counsel of record and
any unrepresented parties via the Court's ECF System to their respective email or First Class
U.S. mail addresses disclosed on the Notice of Electronic Filing on May 5, 2016.

                                              s/Karri Sandusky
                                              Case Manager
